Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 1 of 14




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Action No. 20-cr-00152-PAB

 UNITED STATES OF AMERICA,

         Plaintiff,
 v.                                                            PUBLIC VERSION

 1. JAYSON JEFFREY PENN,
 2. MIKELL REEVE FRIES,
 3. SCOTT JAMES BRADY,
 4. ROGER BORN AUSTIN,
 5. TIMOTHY R. MULRENIN,
 6. WILLIAM VINCENT KANTOLA,
 7. JIMMIE LEE LITTLE,
 8. WILLIAM WADE LOVETTE,
 9. GARY BRIAN ROBERTS,
 10. RICKIE PATTERSON BLAKE,

         Defendants.


                      UNITED STATES’ OMNIBUS MOTIONS IN LIMINE


         The government respectfully submits the following motions in limine as

 prescribed by the Court’s May 20, 2021 Order (ECF 264 at 6) and Practice Standards

 (Criminal Cases) at III.C.

      1. Procompetitive Justifications or Lack of Harm

         The Court should exclude evidence and argument irrelevant to this case, which

 charges the defendants with a per se illegal conspiracy. The prohibition should include

 evidence and argument that the conspiracy was either justified by procompetitive or

 other justifications, or did not result in harmful effects.
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 2 of 14




        Justifications. The Court should prohibit the defendants from introducing

 evidence—including expert witness testimony—and arguments that there were

 procompetitive or other justifications for the conspiracy. “Whatever economic

 justification particular price-fixing agreements may be thought to have, the law does not

 permit an inquiry into their reasonableness. They are all banned because of their actual

 or potential threat to the central nervous system of the economy.” United States v.

 Socony-Vacuum Oil Co., 310 U.S. 150, 224 n.59 (1940); see also United States v.

 Kemp, 907 F.3d 1264, 1277 (10th Cir. 2018).

        The government anticipates that the defendants may attempt to justify their

 conspiracy by introducing evidence and arguments that competitors discussed prices to

 benefit customers, or that the fixed prices were reasonable. Neither would be relevant

 under well-established case law, Socony-Vacuum, 310 U.S. at 224 n.59; Kemp, 907

 F.3d at 1277.

        Lack of Harm. The Court should prohibit the defendants from introducing

 evidence and argument that the conspiracy was not unlawful absent harmful effects.

 “Conspiracies under the Sherman Act are . . . not dependent on the ‘doing of any act

 other than the act of conspiring’ as a condition of liability.” Socony-Vacuum, 310 U.S. at

 252 (quoting Nash v. United States, 229 U.S. 373, 378 (1913)). It follows that evidence

 of a lack of harm does not absolve the defendants of liability, as they already conceded.

 ECF No. 243 at 2 (“[T]he crime is the agreement itself and . . . success or even overt

 acts are not elements of the offense[.]”).




                                              2
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 3 of 14




        The government intends to introduce evidence of harm from the defendants’

 conspiracy. For example, customer witnesses will testify—and their contemporaneous

 documents will show—the harm they would experience if the defendants’ price-increase

 demands were met. Perceived harm is also relevant to the defendants’ motive. The

 government intends to introduce evidence of the amount of money that was at issue at

 the time bids were rigged and prices were fixed, as well as the amount of money

 transferred from customers to the defendants and their conspirators as a result of the

 rigged bids and fixed prices. But proof of actual harm is not required, and would only

 lead to a mini-trial that would needlessly waste the Court’s and the jury’s time.

        Expert Evidence. Defendants’ economic expert, Professor Snyder, should be

 prohibited from providing expert evidence on the procompetitive aspects of information

 exchanges. See ECF 299 at 7. 1 He should also be prohibited from providing testimony

 on the lack of anticompetitive harm whether from “observed price increases,” lack of

 “supracompetitive pricing,” or otherwise. See id. at 9. 2




 1  The government moved to exclude certain expert testimony, and to require the
 defendants to submit expert disclosures that complied with Fed.R.Crim.P.16. See ECF
 299. To the extent the Court permits the defendants to supplement their disclosures in
 lieu of exclusion, the government respectfully requests an opportunity to seek additional
 relief from the Court based on the supplemental disclosures.

 2 In its motion, the government sought to exclude certain of Professor Snyder’s opinions
 for the additional reason that defendants failed to provide the required disclosures, and
 the disclosures provided to date do not provide the information needed for the
 government to assess whether such proffered opinions meet the requirements of Rules
 702 and 703. Based on the (albeit inadequate) disclosures provided to date, some of
 the topics on which Professor Snyder has been noticed may be relevant to this case.


                                               3
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 4 of 14




        Similarly, the defendants’ chicken expert, Paul Sinowitz, should be prohibited

 from testifying about procompetitive justifications for the challenged conduct including

 whether suppliers’ collecting competitor information was procompetitive. ECF 299 at 5.

 Mr. Sinowitz should also be prohibited from opining that “Claxton was not a true

 competitor” of other chicken suppliers, ECF 299 at 12, because that is likewise

 irrelevant to this case. What matters is whether defendants Brady and Fries (both

 Claxton employees) knowingly joined the conspiracy. Whether Claxton was deemed a

 true competitor, even that was even true, is inconsequential. See Socony-Vacuum, 310

 U.S. at 224 n.59 (A defendant “may be guilty of conspiring, although incapable of

 committing the objective offense.”) And in any event, Claxton held itself out to

 customers as a competitor, and customers considered Claxton a competitor. 3

     2. Additional Sinowitz Evidence

        The Court should also exclude testimony from Mr. Sinowitz based on his

 personal knowledge because it is irrelevant. For example, in the defendants’ letter

 noticing Mr. Sinowitz as a chicken expert, they write that Mr. Sinowitz is expected to

 testify about contracts that he helped develop while employed at RSCS, KFC’s

 purchasing cooperative. Exhibit A at 5-6. That is irrelevant. Mr. Sinowitz stopped

 working at RSCS eighteen years ago, in 2003, which is approximately nine years prior

 to the commencement of the charged conspiracy.


 3In addition to inadequate disclosures, the government has also challenged Mr.
 Sinowitz on the grounds that his experience, which is the sole stated basis of his
 expertise, is mismatched with his proffered opinions, and therefore unreliable. ECF 299
 at 10-12. Some of the topics noticed for Mr. Sinowitz could be unobjectionable, but he
 does not have the requisite experience to render reliable opinions on those topics.
                                             4
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 5 of 14




    3. Good Intentions

        The Court should exclude argument or evidence that any of the defendants had

 procompetitive intentions, including intentions to benefit their customers, consumers of

 chickens, or chicken markets generally. Any “good intentions” defense is not relevant in

 a case charging a per se illegal conspiracy. United States v. Topco Assocs., Inc., 405

 U.S. 596, 610 (1972) (“The Court has consistently rejected the notion that naked

 restraints of trade are to be tolerated because they are well intended.”); see also

 Socony-Vacuum, 310 U.S. at 221–22 (explaining that the Sherman Act does not allow

 as justifications “the good intentions of the members of the combination”).

        For example, the government anticipates the defendants to claim that they had

 good intentions by raising prices to ensure that broiler chicken suppliers would continue

 to produce the “small-bird” chickens required by fast-food restaurants. Even if true, that

 is not a valid defense to a per se charge of conspiracy to fix prices and rig bids and

 therefore evidence of good intentions should be excluded under Rule 402.

        Moreover, in the event that the defendants are able to show the marginal

 relevance of evidence and argument regarding the actual state of the small-bird supply

 chain, the government may nevertheless seek to exclude under Rule 403 to avoid both

 juror confusion and a mini-trial on an issue that would needlessly waste the Court’s and

 the jury’s time. To be clear, the government intends to introduce evidence that the

 defendants told many fast-food customers that the supply of small birds—a supply vital

 to their businesses—was on the precipice of taking flight. But, regardless of the actual

 state of what was happening with the supply of small birds, the purpose of offering such


                                              5
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 6 of 14




 evidence will be limited to proving that the defendants coordinated their stories to

 convince their customers to succumb to massive price increases for their flagship

 products.

    4. Good Character

        The Court should prohibit the defendants from introducing reputation or opinion

 evidence that they are generous, charitable, patriotic, family-oriented, religious, or

 community participants. Evidence that a defendant possessed certain favorable

 character traits is admissible only when the trait is “pertinent” to the offense charged.

 See FED. R. EVID. 404(a)(2)(A); see also, e.g., United States v. Santana-Camacho, 931

 F.2d 966, 967 (1st Cir. 1991); United States v. Nazzaro, 889 F.2d 1158, 1168 (1st Cir.

 1989). None of those characteristics are relevant to the charged offenses.

        The defendants should also be prohibited from introducing evidence in the form

 of specific instances of good character, including caring for children, grandchildren, a

 spouse, or other family; attending religious services; performing charitable work or

 community service; or other forms of generosity. Federal Rule of Evidence 405(b)

 makes clear that unless a defendant’s character or character trait is “an essential

 element of a charge, claim, or defense,” he may not offer evidence of specific instances

 of good conduct. See United States v. McMahan, 394 F. App'x 453, 463 (10th Cir. 2010);

 United States v. Talamante, 981 F.2d 1153, 1156 (10th Cir.1992). Again, none of that is

 relevant to an essential element of a charge, claim, or defense in this case.




                                              6
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 7 of 14




    5. Character Evidence Unrelated to Truthfulness




                                          7
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 8 of 14




    6. Motive Evidence

        The Court should admit evidence of defendants’ compensation and pay structure

 because it is relevant to show that they have a profit motive to participate in a price-

 fixing and bid-rigging conspiracy, and it would not be unfairly prejudicial.

        Evidence showing a defendant’s motive for committing the crime charged is

 admissible, United States v. King, 560 F.2d 122, 133 (2d Cir. 1977), and compensation

 evidence, in particular, is relevant to a defendant’s motive in antitrust cases. See, e.g.,

 United States v. Peake, 143 F. Supp. 3d 1, 18 (D.P.R. 2013) (“Evidence of Peake's

 compensation is highly probative to show not only that he had a financial interest in the

 success of the corporation, but also to establish a motive for why Defendant allegedly

 participated in the conspiracy.”). It is especially relevant in a bid-rigging and price-fixing

 conspiracy in which the objective of the conspiracy is to circumvent competition to boost

 revenues. See United States v. Beachner Const. Co., Inc., 729 F.2d 1278, 1280 (10th

 Cir. 1984).

        The government anticipates using documentary evidence to show that some of

 the defendants’ compensation consisted of a base salary plus a bonus determined by

 revenue. For example, the government intends to introduce evidence from defendant

 Lovette’s employment agreement while CEO at Pilgrim’s Pride. See Exhibit B. The

 agreement enabled Lovette to reap bonuses for the company achieving certain EBITDA

 targets, with higher bonuses for higher EBITDA results. As another example, the

 government intends to introduce a Pilgrim’s Pride Form 8-K dated May 3, 2019,

 showing then-CEO Jayson Penn was awarded a cash incentive bonus of 100% of his


                                                8
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 9 of 14




 salary for reaching the company’s margin goals. See Exhibit C. These examples are not

 an exhaustive listing of the compensation information that the government would

 introduce at trial to show motive for the conspiracy.

        The government anticipates proving the conspirators were motivated by the

 amount of increased revenue they would garner from submitting a rigged bid. For

 example, at the time that Pilgrim’s was formulating its collusive bid to KFC, one

 conspirator computed for defendant Penn that the price increase resulting from the bid

 would boost the company’s revenues by $400,000 per week, which amounts to more

 than $20 million in one year. See Exhibit D.

    7. Summary Evidence

        The Court should permit the government to introduce exhibits and testimony to

 summarize a large number of phone records and business documents such as chicken

 supply contracts, business-related correspondence, and emails and text messages over

 the span of several years maintained by the defendants’ employers, their customers,

 and phone utility providers to facilitate the efficient presentation of trial evidence.

        Federal Rule of Evidence 1006 permits a summary to prove the content of

 voluminous materials that cannot be conveniently examined in court. Such summary

 charts are appropriate where, as here, all the underlying documents are otherwise

 admissible, State Office Sys., Inc. v. Olivetti Corp. of America, 762 F.2d 843, 845 (10th

 Cir. 1985), and the documentation is sufficiently voluminous that it would be difficult for

 the jury to digest the evidence without summary exhibits, United States v. Thompson,

 518 F.3d 832, 858 (10th Cir. 2008), cert. denied, 129 S. Ct. 487 (2008).


                                                9
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 10 of 14




        For example, the government intends to introduce evidence of communications

 between defendant Little and individuals at competing suppliers, as reflected in the

 underlying toll records. Little, who stated words to the effect that he had no contact with

 individuals at competing suppliers outside of speaking to individuals at industry trade

 shows, told federal agents that he had not called or sent text messages to competitors.

 ECF No. 101 ¶ 148. Little’s statements were false. He had hundreds or thousands of

 telephone and text communications with competitors. The government intends to elicit

 testimony from an FBI analyst who will prepare the summaries to demonstrate the

 analyst’s method of loading and compiling information from the toll records into the

 summary exhibit. The underlying toll records are admissible as records of regularly

 conducted business, FED. R. EVID. 803(6), and are relevant to prove all counts of the

 Superseding Indictment. See United States v. Hill, 604 Fed. App’x 759, 784 (10th Cir.

 2015); United States v. Samaniego, 187 F.3d 1222, 1224 (10th Cir. 1999).

        As another example, the government intends to introduce summary exhibits that

 will provide basic information about the key events in the defendants’ conspiracy. The

 summary exhibits will have content similar to the Conspiracy Guide that the government

 used as part of the James hearing, with the exception that any agent interpretation of

 those documents will be removed. See ECF 448.2. The government expects to use

 those summary exhibits during the direct examination of two law-enforcement case

 agents. One agent will testify about the conspiracy’s actions directed toward increasing

 prices to KFC and other customers. The other agent will testify about other




                                             10
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 11 of 14




 conspiratorial events. The information appearing in the summaries will be drawn from

 voluminous, admissible evidence.

    8. Pilgrim’s Pride Plea Agreement

        The Court should admit Pilgrim’s Pride’s plea agreement into evidence if the

 defendants on cross-examination call into question the credibility of Robbie Bryant, a

 government witness covered by the agreement. In a related case, Pilgrim’s Pride

 pleaded guilty and executed a plea agreement. See Exhibit E. Pursuant to paragraph

 16(a) of the agreement, the government will not bring criminal charges against Pilgrim’s

 Pride’s current employees (except employees carved out of the agreement, none of

 whom are Mr. Bryant) in exchange for their cooperation and testimony.

        On Mr. Bryant’s direct examination, the government plans to introduce that there

 is a plea agreement with Pilgrim’s that provides Mr. Bryant will not be prosecuted for his

 role in the charged conspiracy. However, if the defendants use the agreement to

 impeach Mr. Bryant, the government intends to offer the agreement into evidence on re-

 direct examination for the limited purpose of demonstrating that he has an obligation to

 tell truth and that his protection under the plea agreement does not depend on the

 outcome of the trial. See United States v. Woods, 764 F.3d 1242, 1246 (10th Cir. 2014)

 (“[P]lea evidence must be used for the proper purpose of aiding the jury in its

 assessment of” witness credibility.).

    9. Penalties
        The Court should exclude evidence and argument of the potential penalties or

 consequences the defendants face if they are convicted, including: (a) the maximum


                                             11
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 12 of 14




 penalties; (b) that the defendants could be incarcerated; and (c) that the defendants

 would become felons and could be prohibited from obtaining some types of jobs or lose

 certain rights.

          “[A] jury has no sentencing function” and “should be admonished to reach its

 verdict without regard to what sentence might be imposed.” Shannon v. United States,

 512 U.S. 573, 579 (1994) (internal quotations omitted). “[P]roviding jurors sentencing

 information invites them to ponder matters that are not within their province, distracts

 them from their factfinding responsibilities, and creates a strong possibility of confusion.”

 Id.

          Therefore, the only purpose of that evidence is jury nullification and as such it

 should be excluded under Rules 402 and 403.

       10. Customer Complicity

          The Court should exclude all argument and evidence suggesting that complicity

 by customers or their representatives excused the defendants’ conspiracy. The

 defendants’ conspiracy trained their bid rigging and price fixing on customers that

 negotiated either directly with chicken suppliers or indirectly through the use of

 purchasing cooperatives. The defendants may attempt to argue and introduce evidence

 that customers or their representatives were complicit in the defendants’ bid rigging and

 price fixing, and their complicity excuses the defendants for their actions.

          First, such evidence and argument should be excluded because it is irrelevant.

 Customer complicity, if it existed, would be grounds for prosecution, rather than a

 defense to defendants’ conspiracy. Cf. United States v. Rutigliano, 790 F.3d 389, 402


                                               12
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 13 of 14




 (2d Cir. 2015) (“If the RRB members were stupefied, then they were defrauded; if they

 were complicit (or coconspirators), that would have been a ground for prosecution, not a

 defense.”). Second, even if somehow relevant, proving a customer’s complicity would

 create a mini-trial that would needlessly waste the Court’s and the jury’s time.

 Therefore, customer complicity should be excluded under Rule 402 and 403.

     11. The Government’s Deliberative Processes and Charging Decisions

        The Court should exclude evidence and argument of the government’s

 deliberative processes of this and related cases, including evidence and argument

 related to the Antitrust Division’s Leniency Program. Such matters are irrelevant to this

 case and would create a substantial danger of jury nullification.

        “The Antitrust Division’s Leniency Program allows corporations and individuals

 involved in antitrust crimes to self-report and avoid criminal convictions and resulting

 fines and incarceration.” 4 The government does not expect to call any witness at trial

 who have benefitted from the Division’s Leniency Program, and therefore, the credibility

 of any government witness receiving leniency in this or a related case is not an issue.

        Selective prosecution evidence and argument is irrelevant, too. A “selective

 prosecution claim is not a defense on the merits to the criminal charge.” United States v.

 Armstrong, 517 U.S. 456, 463 (1996).




 4 Antitrust Division, FREQUENTLY ASKED QUESTIONS ABOUT THE ANTITRUST
 DIVISION’S LENIENCY PROGRAM AND MODEL LENIENCY LETTERS,
 https://www.justice.gov/atr/page/file/926521/download (Jan. 26, 2017) at 2.
                                             13
Case 1:20-cr-00152-PAB Document 567 Filed 10/05/21 USDC Colorado Page 14 of 14




        12.    Memory Expert: Mark Chambers

        According to defendants’ disclosure, Dr. Chambers is expected to testify about

 “memory errors or false memory,” “cognitive dissonance,” and “false confessions.” Ex. A

 at 3. Those opinions are unsupported as they are accompanied by no facts or data, and

 irrelevant. The Court should exclude the entirety of his testimony. 5



        Dated: October 1, 2021             Respectfully submitted,

                                           /s/ Michael Koenig
                                           MICHAEL KOENIG
                                           HEATHER CALL
                                           CAROLYN SWEENEY
                                           PAUL TORZILLI
                                           Antitrust Division
                                           U.S. Department of Justice
                                           450 Fifth Street NW, Suite 11048
                                           Washington D.C. 20530
                                           Tel: (202) 616-2165
                                           michael.koenig@usdoj.gov
                                           Attorneys for the United States




 5The government also moved to exclude defendants’ proffered experts Joseph Pochron
 and Dr. Siyu Qing. See ECF 299 at 12-14.
                                             14
